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UNITED STATES OF AMERICA

 

V.

TIMOTHY R. FORREST 05cr20030-Ml

 

ORDER SPECIFYING PERIOD OF EXCLUDABLE DELAY
UNDER THE SPEEDY TRIAL ACT

 

Before the court is the government’s oral motion to continue arraignment set July 6,
2005. As grounds for the motion, the government states additional time is needed to
determine if a Rule 20 transfer Will be accomplished The defendant does not oppose the
continuance The court finds that the arraignment should be continued and that the ends of
justice served by such a continuance outweigh the best interests of the public and the

defendant in a speedy trial.

 

 

It is therefore ORDERED that the time period of /z/@//£§ through
7//20//£5- be excluded from the time its imposed by the Speedy Trial
Act for trial of this case.

ARRAIGNMENT IS RESET TO WEDNESDAY, JULY 20, 2005 AT 9:30 A.M.
BEFORE MAGISTRATE JUDGE DIANE K. VESCOVO.

This d%f-Ldayof ;;Il-€\ .2005.
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UNITED STATES MAGISTRATE JUDGE

Tnis document entered on the docket sheet in compliance
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with Flu|e 55 andforBZ{b) FRCrP on

 

ISTRICT COURT - WETRSE DISTRICT TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 88 in
case 2:05-CR-20030 Was distributed by faX, mail, or direct printing on
July 7, 2005 to the parties listed.

 

 

Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on l\/lcCalla
US DISTRICT COURT

